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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      : MAGISTRATE NO. 21-MJ-195 (ZMF)
                                               :
ETHAN NORDEAN,                                 :
Also known as “Rufio Panman,”                  :
                                               :
                    Defendant.                 :


                                          ORDER

       Upon consideration of the Government’s Motion for Emergency Stay and for Review of

Detention Order as to defendant Ethan Nordean.

       It is this           day of February, 2021,

       ORDERED, that the Motion for an Emergency Stay is hereby GRANTED and the

release order entered by the Western District of Washington Magistrate Judge on February 8,

2021 as to defendant Ethan Nordean is STAYED pending review of the detention decision by

this Court.




                                           BERYL A. HOWELL, CHIEF JUDGE
                                           UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF COLUMBIA




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